Case 2:O2-cr-20368lBB[5" Document 20 Filed 07/22/05 `Pag`e/l of 2 Page|D 21

man BYML,___ D.C.
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE 05 JUL 22 PH hr 32
Western Division

 
   
 

 

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UNITED STATES oF AMERICA cl EF;;+; s IPT COURT

V-;.':`;‘ v l -- MEMPHLS
-vs- Case No o. 2:02cr20368--D

AMANDA SMITH

 

ORDER APPOINTING COUNSEL PURSUANT 'I`O
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsell Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' Probation/Supervised Release Violation

J

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DONE and ORDERED in 167 North Main, Memphis, this ;2 2 day of July, 2005.

/<OM /(. Z,’QJM

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Oftice

Assistant F ederal Public Defender
lntake

AMANDA SMITH

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ISTIC COURT -WTER DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:02-CR-20368 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

